      Case No. 1:09-cv-00799-SJJ-KLM Document 215 filed 10/03/11 USDC Colorado pg 1 of 3



                                          UNITED STATES DISTRICT COURT
                                              DISTRICT OF COLORADO
                                               OFFICE OF THE CLERK
 GREGORY C. LANGHAM, CLERK                                                                             ROOM A-105
                                                                                            ALFRED A. ARRAJ U.S. COURTHOUSE
                                                                                                    901 19TH STREET
                                                                                              DENVER, COLORADO 80294-3589
                                                                                                  PHONE (303) 844-3433
                                                                                                   www.cod.uscourts.gov


                                                       October 3, 2011

SEE NOTICE OF ELECTRONIC FILING

RE:      GRANITE SOUTHLANDS TOWN CENTER, LLC, vs. ALBERTA TOWN CENTER, LLC, et al

District Court Case No. 09-cv-00799-SJJ-KLM
Notice of Appeal Filed by Defendant Alberta Town Center, LLC on 9/30/11
Fee Status: Fees Paid
Other Pending Appeals: 10-1453

         Attached are the following documents for the parties in connection with the notice of appeal: Copy of the notice of
appeal and a copy of the docket sheet. The appellant only is directed to the U.S. Court of Appeals for the 10th Circuit website
(http://www.ca10.uscourts.gov) to obtain the Notice of Transcript Order form, Docketing Statement form and Docketing
Statement Instructions.

        The appellant must carefully read the directions provided with the Notice of Transcript Order form. If a transcript
is being ordered, the appellant and the court reporter must complete the Notice of Transcript Order. The appellant must
complete a separate form for each court reporter and/or reporting service, indicating only the dates of the proceedings that
reporter is being requested to transcribe. Please contact the reporter or reporting services directly to obtain information and
make arrangements for the preparation of the necessary transcripts. Instructions and the names, addresses and telephone
numbers for most of the court reporters and reporting services can be found on the attached list.

         File one copy of the Notice of Transcript Order with the U.S. District Court on CM/ECF, one copy with the U.S. Court
of Appeals on the Appellate CM/ECF and serve all parties pursuant to Fed. R. App. P. 10. If no transcript is being ordered,
or all necessary transcripts are presently on file, the appellant must complete the Notice of Transcript Order, including Section
A and file it as indicated above. If the entire transcript is not ordered by the appellant, the appellee should refer to Fed. R.
App. P. 10.

         If you have any difficulty accessing the necessary appeal documents please contact the appeals clerk at the U.S.
District Court for the District of Colorado (303) 844-3433.

                                                               Sincerely,
                                                               GREGORY C. LANGHAM, Clerk


                                                               by s/ Gail Shaw Deputy Clerk


cc:      Clerk, U.S. Court of Appeals (with copy of docket sheet, copy of notice of appeal and the preliminary record)
Case No. 1:09-cv-00799-SJJ-KLM Document 215 filed 10/03/11 USDC Colorado pg 2 of 3




   FURTHER INSTRUCTIONS FOR ORDERING TRANSCRIPTS:

           Please review the enclosed docket sheet and locate the docket entry for the minutes of the proceedings
   you wish to have transcribed. In the entry will be either:
   -the name of the court reporter,
   -the name of the E.C.R. operator (meaning the proceeding was tape recorded before a District Court Judge),
   -an indication of the tape number of the proceedings (meaning the proceeding was tape recorded before a
   magistrate judge) or
   -“FTR” (meaning the proceeding was digitially recorded before either a District Court Judge or a Magistrate
   Judge).

            If a name of a court reporter appears, please contact that reporter directly to make arrangements for
   the preparation of the transcript. The names, addresses and phone numbers for the court reporters and some
   of the contract reporters are on the attached sheet. If the name of the reporter is not on this list, please refer
   to the attached certificate of mailing.

           If the proceedings was before a District Court Judge (other than Judge Richard P. Matsch) and was
   recorded by an E.C.R. operator or FTR, please contact Federal Reporting Service. Their address and phone
   number is on the attached list.

           If the proceedings was before Judge Richard P. Matsch (either tape recorded (E.C.R) or digitally
   recorded (FTR) please contact Kathy Terasaki. Her address and phone number is on the attached list.

            If the proceeding was held before a Magistrate Judge and was either tape recorded (E.C.R) or
   digitally recorded (FTR) please contact Avery Woods Reporting Service. Their address and phone number
   is on the attached list.
Case No. 1:09-cv-00799-SJJ-KLM Document 215 filed 10/03/11 USDC Colorado pg 3 of 3




   COURT REPORTERS                         OTHER COURT REPORTERS
   901 19th Street                         Adrienne Whitlow
   Denver, Colorado 80294                  8000 E. Girard Apt. 109
                                           Denver, CO 80231
   Suzanne Claar                           303-695-1121
   303-825-8874

   Paul Zuckerman
   303-629-9285

   Gwen Daniel
   303-571-4084

   Therese Lindblom
   303-628-7877

   Kara Spitler
   303-623-3080

   Janet Coppock (fka Morrissey)
   303-893-2835

   Darlene Martinez
   303-296-2008

   Tracy Weir
   303-298-1207

   FTR OPERATOR
   Kathy Terasaki
   FTR Operator - (FTR-RPM)
   901 19th Street
   Denver, Colorado 80294
   303-335-2095

   DISTRICT COURT JUDGE - DIGITAL-FTR
   Federal Reporting Service, Inc.
   17454 East Asbury Place
   Aurora, CO 80013
   303-751-2777

   MAGISTRATE JUDGE - DIGITAL-FTR
   Avery Woods Reporting Service, Inc.
   455 Sherman Street, Suite 250
   Denver, CO 80203
   303-825-6119
